                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

KATHRYN KNOWLTON, et al.,

                       Plaintiffs,
v.                                                                   CASE NO. 20 CV 01660

CITY OF WAUWATOSA, et al.,

                  Defendants.
______________________________________________________________________________

               DEFENDANTS’ PROPOSED SCHEDULING ORDER
______________________________________________________________________________

       Pursuant to the Court’s Order (ECF# 190), the parties, through their respective counsel,

met and conferred on September 12, 2022. Despite efforts to work with Plaintiffs to file a joint

proposed schedule as the Court requested—the parties were unable to reach agreement. The parties

seemingly agree on the dates for the close of discovery and dispositive motion deadlines but are

unable to otherwise agree. As such, the parties are filing separate proposals.

       Defendants anticipate conducting one deposition of Plaintiff William Rivera.

       Plaintiffs anticipate conducting seven or eight additional depositions. At the time of the

meet and confer on September 12, 2022, the Plaintiffs could only identify Defendant Farina and

"the City" as two of those additional deponents. Defendants do not object to Defendant Farina

being deposed; however, Defendants anticipate objecting to any additional deponents based on the

number of depositions previously conducted by Plaintiffs (15) and the limited claims remaining.

       All parties agree that depositions may be conducted via zoom (or similar) technology and

the parties reserved the dates of October 18, 19 and 20, 2022, upon which to conduct depositions.

       Parties anticipate propounding additional written discovery which will comport with

previously ordered discovery limits. (ECF # 99)




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       Parties will update each other as to discovery responses they believe to be outstanding and

related to remaining claims by Monday, September 19, 2022, and the parties will provide a

response by September 27, 2022.

       The parties respectfully propose the following Amended Scheduling Order deadlines:

       1.      All requests for discovery must be served by a date sufficiently early so that all

discovery in this case can be completed no later than November 18, 2022.

       2.      All dispositive pretrial motions together with briefs are to be filed in accordance

with Civil L.R. 56, and no later than December 23, 2022. Such motions shall not be filed prior to

the date of completion of discovery.

       Dated this 14th day of September 2022.

                                                    WIRTH + BAYNARD
                                                    Attorneys for Defendants

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